        Case 7:20-cv-01768-SGC          Document 47    Filed 10/19/23    Page 1 of 20            FILED
                                                                                        2023 Oct-19 PM 01:43
                                                                                        U.S. DISTRICT COURT
                                                                                            N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION


        TERRI MCGUIRE-MOLLICA,

                     Plaintiff,

        v.                                               CIVIL ACTION NO.
                                                         7:20-cv-01768-SGC
        RICHARD GRIFFIN, et al.,

                     Defendants.


        SPECIAL REPORT, MOTION TO DISMISS, AND MOTION FOR
                       SUMMARY JUDGMENT

         Pursuant to the Court’s January 28, 2022 Order, ECF No. 13-1, Defendants

Richard Griffin, M.D., Xinyu Li, M.D., and Sharon Bailey, R.N., submit this

special report, motion to dismiss, and motion for summary judgment 1.

                                   I.      Special Report

A.       Sworn Statements

         The sworn statements of Defendants are attached as exhibits to this special

report.

B.       Individuals with Relevant Knowledge

         1.     Richard Griffin, Physician, FCI Aliceville (Retired);



1
    Only defendants Xinyu Li and Sharon Bailey are moving for summary judgment.

                                              1
      Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23   Page 2 of 20




      2.     Xinyu Li, Physician, FCI Aliceville;

      3.     Sharon Bailey, Nurse, FCI Aliceville;

      4.     Ted Cox, OB/GYN, Winfield, Alabama;

      5.     Lorissa Autery, OB/GYN, Jasper, Alabama.

C.    Relevant Documents

      All documents relevant to the claims and defenses in this action are included

as attachments to this special report.

D.    Affirmative Defenses

      Defendants assert and preserve the following affirmative defenses:

      1.     Defendants are entitled to qualified immunity. At no time did

Defendants’ conduct violate a clearly established constitutional right.

      2.     Defendants assert that the statute of limitations bars some of

Plaintiff’s claims. Plaintiff’s claims are governed by a two-year statute of

limitations. Some of Plaintiff’s claims accrued more than two years before she

filed this action. In addition, Defendant Dr. Griffin stopped treating Plaintiff in

January 2019, and any claims brought more than two years after that time are

barred by the statute of limitations.




                                           2
      Case 7:20-cv-01768-SGC        Document 47    Filed 10/19/23    Page 3 of 20




                              II.    Motion to Dismiss

      Pursuant to Rule 12(b) of the Federal Rules of Civil Procedure, all

Defendants move to dismiss Plaintiff’s claims because she has failed to exhaust her

administrative remedies.

      Plaintiff sued Defendants for violations of her constitutional rights pursuant

to Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971). Plaintiff is

currently incarcerated, and so her claims are governed by the Prison Litigation

Reform Act of 1995. As a result, before Plaintiff can bring a Bivens action, she

must fully exhaust the administrative remedies set by the Bureau of Prisons (BOP).

Plaintiff has failed to do this, and her claims are due to be dismissed.

A.    Legal Standard

      Exhaustion of administrative remedies is a matter in abatement and is

properly raised in a motion to dismiss. Bryant v. Rich, 530 F.3d 1368, 1374–75

(11th Cir. 2008); see also Abram v. Leu, 848 F. App’x 868, 870 (11th Cir.).

Deciding a motion to dismiss for failure to exhaust administrative remedies is a

two-step inquiry. Abram, 848 F. App’x at 870 (citing Turner v. Burnside, 541 F.3d

1077, 1081-82 (11th Cir. 2008). District courts first should compare the factual

allegations in the motion to dismiss and those in the prisoner’s response and, where

there is a conflict, accept the prisoner’s view of the facts as true. Id. “‘The court

should dismiss if the facts as stated by the prisoner show a failure to exhaust.’” Id.


                                           3
      Case 7:20-cv-01768-SGC      Document 47      Filed 10/19/23   Page 4 of 20




(quoting Turner, 541 F.3d at 1081-82). Second, if dismissal is not warranted at the

first stage, the court should make specific findings to resolve disputes of fact, “‘and

should dismiss if, based on those findings, defendants have shown a failure to

exhaust.’” Id. (quoting Turner, 541 F.3d at 1081-82).

B.    BOP’s Administrative Remedy Program

      The BOP provides a multilevel administrative grievance procedure for

prisoner complaints. 28 C.F.R. §§ 542.10–542.16. Initially, prisoners must seek a

resolution through informal grievances. Id. § 542.13(a). If unsuccessful, an

inmate may then file a formal written complaint (a BP-9) with the institution. Id.

§ 543.14. An appeal may then be taken to the Regional Director (a BP-10). Id.

§ 542.15(a). Finally, an inmate may appeal the Regional Director’s response to the

General Counsel (a BP-11). Id. Appeals to the General Counsel must be

submitted on the form designed for Central Office Appeals. 28 C.F.R.

§ 542.15(b)(1). An inmate must appeal through the General Counsel level to

exhaust administrative remedies. Id. (“Appeal to the General Counsel is the final

administrative appeal.”); Irwin v. Hawk, 40 F.3d 347, 349 n.2 (11th Cir. 1994).

C.    Plaintiff Has Not Exhausted Her Administrative Remedies.

      Under Eleventh Circuit precedent, a prisoner’s Bivens claims are subject to

administrative exhaustion requirements. Shivers v. United States, 1 F.4th 924, 935

(11th Cir. 2021) (“The Prison Litigation Reform Act (‘PLRA’) requires prisoners


                                          4
     Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23   Page 5 of 20




to exhaust all available administrative remedies before bringing a Bivens claim.”)

A plaintiff who has failed to exhaust administrative remedies may face dismissal

on those grounds. See id. (affirming the district court’s dismissal without prejudice

of the plaintiff’s Bivens claims for failure to exhaust administrative remedies).

      Plaintiff has submitted two administrative remedy requests related to the

medical care at issue in this suit. In administrative remedy request number

1000103, Plaintiff asked to see an outside specialist or surgeon. Ex. A, AR

1000103 at 4; Ex. B, Sentry Report 2. FCI Aliceville responded to her request on

June 23, 2020. Ex. A, AR 1000103 at 6; Ex. B, Sentry Report 4. Plaintiff

appealed her administrative remedy requested to the Regional Office, which

responded on December 21, 2020. Ex. A, AR 1000103 at 2; Ex. B, Sentry Report.

Plaintiff did not appeal the response from the Regional Office to the General

Counsel level. See Ex. B, Sentry Report; Ex. C, McPherson Declaration ¶ 8.

      In administrative remedy request number 1033708, Plaintiff raised two

medical issues and also requested home confinement. Ex. D, AR 1033708 at 7;

Ex. B, Sentry Report 2. FCI Aliceville responded to her request on July 17, 2020.

Ex. D, AR 1033708 at 6; Ex. B, Sentry Report 4. Plaintiff did not appeal the

response to the Regional Office. See Ex. B, Sentry Report; Ex. C, McPherson

Declaration ¶ 9.




                                          5
      Case 7:20-cv-01768-SGC           Document 47        Filed 10/19/23      Page 6 of 20




       Plaintiff has not fully exhausted any of her administrative remedy requests

forming the basis of her claims in this action. See Ex. B, Sentry Report 2; Ex. C,

McPherson Declaration ¶¶ 8-9. 2 Because Plaintiff has not fully exhausted her

administrative remedies, her claims are due to be dismissed. See Shivers, 1 F.4th

at 936 (affirming dismissal of a Bivens claims that was not exhausted through the

General Counsel level).

                         III.    Motion for Summary Judgment
       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendants

Xinyu Li and Sharon Bailey move for judgment as a matter of law on the claims

brought against them. The undisputed facts establish that Dr. Li and Nurse Bailey

did not act with a deliberate indifference to Plaintiff’s serious medical need.

A.     Plaintiff’s Claims

       Plaintiff has brought claims against Dr. Li and Nurse Bailey for alleged

deliberate indifference to Plaintiff’s serious medical needs in violation of the

Eighth Amendment of the United States Constitution. Order for Special Report 3,

ECF No. 24. Specifically, she alleges that Nurse Bailey and Dr. Li failed to treat a

2
  Plaintiff has only appealed one administrative remedy request all the way through the General
Counsel level, administrative remedy request number 1124671. Ex. B, Sentry Report 2. In this
request, Plaintiff asked that First Step Act Credits “be posted and that [she] be processed for the
CARES act. Ex. E, AR 1124671 at 1. Plaintiff submitted this administrative request to the
General Counsel on October 26, 2022, and the General Counsel’s Office responded on January
5, 2023. Id. This administrative remedy request does not exhaust the claims at issue in this case
because the request Plaintiff makes is unrelated to her medical care. In addition, administrative
remedy request number 1124671 was not exhausted until after Plaintiff brought her claims
against Defendants.

                                                 6
         Case 7:20-cv-01768-SGC           Document 47       Filed 10/19/23      Page 7 of 20




uterine fibroid she was diagnosed with in October 2016 and failed to follow a

surgical recommendation by an outside provider, Dr. Cox, to have the fibroid

removed. Id. As a result of this alleged failure, the fibroid has grown larger. Id.

B.        Undisputed Facts

          1.     Plaintiff’s Treatment History

          1.     Ms. McGuire-Mollica entered BOP custody in late September 2016,

and she arrived at FCI Aliceville in October 2016.

          2.     On October 11, 2016, a nurse practitioner performed a history and

physical. Ex. F, Plaintiff’s Medical Records, Mollica0019-32.3 Ms. McGuire-

Mollica’s vaginal exam was normal. Id., Mollica0031. The encounter note

reflects that Ms. McGuire-Mollica had previously had a tubal litigation, which is a

surgery to close a women’s fallopian tubes. Id., Mollica0025.

          3.     On October 14, 2016, Ms. McGuire-Mollica had a follow-up visit

with a nurse practitioner because her blood work showed a low hemoglobin level.

Id., Mollica0009. Plaintiff reported “that she started having heavy menses after her

tubal in 2004 . . . since turning 50 she has started spotting bright red blood daily,

and uses pads daily.” Id. She denied ever receiving blood transfusions. Ms.

McGuire-Mollica was started on multivitamins and was scheduled for a visit with

the doctor. Id.


3
    Exhibit F, Plaintiff’s medical records from 2016 to 2022, are being filed separately under seal.

                                                   7
     Case 7:20-cv-01768-SGC       Document 47      Filed 10/19/23   Page 8 of 20




      4.     Two days later, Ms. McGuire-Mollica was seen by Richard Griffin,

M.D., for an assessment of her menometrorrhagia (excessive uterine bleeding)

occurring four days every cycle. Id., Mollica0005, 0008. To treat the bleeding,

Dr. Griffin prescribed an injectable hormone, medroxyprogesterone, and to treat

the anemia that resulted from the bleeding, he prescribed iron supplements. Id.,

Mollica0007. He also ordered x-rays, a pap smear, and an offsite gynecological

visit. Id., Mollica0008. He instructed Ms. McGuire-Mollica to follow-up as

needed in the meantime. Id.

      5.     On October 21, 2016, Ms. McGuire-Mollica refused the

medroxyprogesterone injection. Id., Mollica0003. The same day, she signed a

medication refusal form documenting that her abnormal bleeding would not be

controlled if she refused the injection. Id., Mollica0060.

      6.     Three days later, Plaintiff reported that she could not tolerate a

medroxyprogesterone injection because it caused migraines and asked for

alternative treatment for her bleeding. Id., Mollica0001. Dr. Griffin prescribed a

daily oral version of medroxyprogesterone, Provera, to treat the bleeding and

propranolol, twice a day, to treat any migraines. Id.

      7.     On April 20, 2017, Dr. Griffin performed a chart review and renewed

Ms. McGuire-Mollica’s prescriptions for Provera and propranolol. Id.,

Mollica0084.


                                          8
     Case 7:20-cv-01768-SGC      Document 47     Filed 10/19/23   Page 9 of 20




      8.    On May 4, 2017, Ms. McGuire-Mollica was seen by an off-site

gynecologist, Ted Cox, M.D. Id., Mollica0106-07. Dr. Cox evaluated Plaintiff’s

uterine fibroids and abnormal uterine bleeding resulting in anemia. Id.,

Mollica0106. Dr. Cox conducted a physical exam and found that Plaintiff’s uterus

was enlarged. Id. Dr. Cox took a biopsy of endometrial tissue for pathological

testing. Id. Following the exam, Dr. Cox recommended Ms. McGuire-Mollica

have a total abdominal hysterectomy once the pathology on the endometrial tissue

came back benign. Id. If the pathology was not benign, she would be referred to

UAB for treatment. Id.

      9.    On the return from her off-site appointment on May 4, 2017, Ms.

McGuire-Mollica was seen by Defendant Sharon Bailey, an RN, who created an

encounter note. Id., Mollica0082. The note states: “Inmate returning from offsite

gynecologist appointment. Notes sent with inmate state gynecologist will call with

biopsy results when available.” Id. This note was reviewed by Dr. Griffin on May

30, 2017. Id., Mollica0083.

      10.   On January 2, 2018, Dr. Griffin ordered a pap smear for Ms.

McGuire-Mollica. Id., Mollica0128. The results were normal. Id., Mollica0122.

      11.   On March 13, 2018, Ms. McGuire-Mollica received a pelvic

ultrasound. Id., Mollica0162. It showed an “enlarged uterus appearing to contain

a large fundal fibroid of approximately 13 cm” and a “right ovarian cyst.” Id.


                                         9
     Case 7:20-cv-01768-SGC      Document 47     Filed 10/19/23   Page 10 of 20




      12.    On March 29, 2018, Dr. Griffin reviewed the ultrasound report. Id.,

Mollica0163. Based on the results, he entered an order for Ms. McGuire-Mollica

to see an off-site gynecologist. Id., Mollica0122.

      13.    On April 27, 2018, Dr. Griffin renewed Ms. McGuire-Mollica’s

prescriptions for Provera and propranolol.

      14.    On November 27, 2018, Ms. McGuire-Mollica refused to see an off-

site gynecologist for evaluation of her fibroids and cyst. Mollica0145. She was

informed that her refusal would result in her conditions being untreated. Id.

      15.    On April 23, 2019, BOP physician Angel Ortiz, M.D. entered a note

that Ms. McGuire-Mollica had refused a gynecologist visit in November 2018 and

discontinued the request for an off-site gynecological consult. Id., Mollica0207.

      16.    On June 28, 2019, Ms. McGuire-Mollica had bloodwork done, which

showed normal iron and hemoglobin levels. Id., Mollica0246.

      17.    On August 26, 2019, Ms. McGuire-Mollica was seen at sick call by an

RN. Id. Mollica0186. She complained of ovarian/uterine pain and pressure. Id.

She rated the pain at an eight and said the onset was three to five days ago. Id. As

part of the assessment, the note states: “Chart review reveals documented history

of abnormal vaginal bleeding as well noninflammatory disorder of the uterus.

OB/GYN consult 03/2018 for evaluation that inmate states she refused at the time




                                         10
     Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23   Page 11 of 20




due to heavy vaginal bleeding day of visit.” Id., Mollica0187. The R.N. placed

Plaintiff in the scheduler to see a provider regarding these issues. Id.

      18.    On November 25, 2019, Ms. McGuire-Mollica was seen by a nurse

practitioner for a chronic care visit. Id., Mollica0171. Plaintiff reported her

uterine “bleeding has been better for a couple of months,” and she denied any pain

or discomfort during the visit. Id., Mollica0173-74. The nurse practitioner entered

a new request for a gynecological consult, noting Ms. McGuire-Mollica had

previously refused a consult but she “has changed her mind and would like to see

OB/GYN.” Id., Mollica0173.

      19.    On November 26, 2019, Defendant Xinyu Li, M.D., reviewed the

nurse practitioner’s treatment plan for Ms. McGuire-Mollica and concurred with it.

Id., Mollica0168.

      20.    On December 18, 2019, Ms. McGuire-Mollica had a pelvic

ultrasound. Id., Mollica0309. The ultrasound showed a large uterine fibroid of

thirteen centimeters. Id. Dr. Li reviewed the ultrasound results on January 3,

2020. Id., Mollica0310.

      21.    On April 20, 2020, FCI Aliceville received the results of an

endometrial biopsy preformed on Ms. McGuire-Mollica, which showed the growth

was benign. Id., Mollica0304. Dr. Li reviewed the results that day. Id.,

Mollica0305.


                                          11
      Case 7:20-cv-01768-SGC     Document 47      Filed 10/19/23   Page 12 of 20




       22.   On July 9, 2020, Ms. McGuire-Mollica saw an off-site gynecologist

for an annual exam. Id., Mollica0294. She reported bleeding with clotting for the

last twelve days and five to six days of cramping. Id. An ultrasound showed a

thirteen-centimeter uterine fibroid. Id. An endometrial biopsy was performed, and

the results were benign. Id., Mollica0299. A part of the “plan,” the doctor

discussed a potential medication to treat bleeding, lupron depot, and the effect the

size of uterus had on bleeding and pain. Id., Mollica0295.

       23.   On August 11, 2020, Defendant Sharon Bailey performed a chart

review and created an EMR note. Id., Mollica0264. Ms. McGuire-Mollica

“submitted a written request for a lower bunk restriction stating that she has a 15 lb

tumor in her uterus.” Id. Nurse Bailey entered a note stating:

       Chart review revealed inmate diagnosed with [] an enlarged uterus
       four years ago and an OB/GYN consult was entered. Inmate refused
       to go out on several occasions, but was finally seen about a month ago
       and biopsies were done that revealed growths are benign. Inmate
       diagnosed with fibroids. Inmate does not appear to meet any of the
       2012 Kendig memo criteria for a lower bunk restriction at this time.

Id.

       24.   On April 21, 2021, Defendant Dr. Li saw Ms. McGuire-Mollica for a

chronic care visit. Id., Mollica0334. Regarding her bleeding issues, Dr. Li

documented Plaintiff was doing well, and he would continue her oral hormone

medication. Id.



                                          12
     Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23   Page 13 of 20




      25.    On July 26, 2021, Dr. Li saw Ms. McGuire-Mollica for a chronic care

visit. Id., Mollica0334. Regarding her bleeding issues, Dr. Li again documented

Plaintiff was doing well, and he would continue her oral hormone medication. Id.,

Mollica0327.

      26.    In August 2021, Ms. McGuire-Mollica was transferred from FCI

Aliceville to FCI Tallahassee. Id., Mollica0361, 0364.

      2.     Moving Defendants

             a.     Nurse Sharon Bailey

      27.    Sharon Bailey has worked as a registered nurse at FCI Aliceville from

February 2015 to the present. Ex. G, Bailey Decl. ¶ 2.

      28.    As a registered nurse, Nurse Bailey is not qualified to perform a total

abdominal hysterectomy on a patient. Id. ¶ 3.

      29.    Complex surgeries, such as hysterectomies, cannot be performed

onsite at FCI Aliceville, because the medical facilities are not set up for such

procedures. Id. ¶ 4.

      30.    When an inmate requires a complex surgical procedure, a BOP

medical provider, such as a physician or nurse practitioner, places a request for a

specialist consult in BOP’s electronic medical record system. Id. ¶ 5. Once that

request is approved by the BOP Clinical Director responsible for reviewing such

requests, the inmate is scheduled to see an outside surgeon for a consult. Id. That


                                          13
     Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23    Page 14 of 20




outside surgeon will exam the inmate, and then if medically appropriate perform

the needed surgery. Id.

       31.    As a registered nurse at FCI Aliceville, Nurse Bailey does not have

independent ability to place or order a request in BOP’s electronic medical record

system for an inmate to be referred to an outside specialist, such as a surgeon, for a

consult. Id. ¶ 6. Only providers, such as physicians or nurse practitioners, have

the independent ability to place or order such a request in BOP’s electronic

medical record system. Id.

       32.    At no time did Nurse Baily ever disregard a risk of serious harm to

Plaintiff. Id. ¶ 7.

              b.      Dr. Xinyu Li

       33.    Dr. Li started as a physician at FCI Aliceville on September 15, 2019.

Ex. H, Li Decl. ¶ 2. Dr. Li treated Plaintiff until she was transferred from FCI

Aliceville in August 2021. Id.

       34.    At no time did Dr. Li ever disregard a risk of serious harm to Plaintiff.

Id. ¶ 3.

       35.    Between September 2019 and August 2021, Plaintiff’s uterine

symptoms were stable. Id. ¶ 4.

       36.    Plaintiff’s ultrasounds during this period showed her uterine fibroids

were stable in size. Id. ¶ 5; Ex. F, Mollica0163, Mollica0309, Mollica0294.


                                          14
     Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23    Page 15 of 20




      37.    During this same period, Plaintiff did not have anemia, and her

hemoglobin levels were within a normal range. Ex. H, ¶ 6; Ex. F, Mollica0246,

Mollica0286.

      38.    In July 2020, Plaintiff saw an offsite gynecologist. Ex. H, ¶ 7; Ex. F,

Mollica0294. The gynecologist performed an ultrasound and a biopsy. Ex. F,

Mollica0294, Mollica0299. Based on the exam, the gynecologist did not

recommend a hysterectomy, and Dr. Li reviewed and agreed with the

recommendation. Ex. H, ¶ 7; Ex. F, Mollica0295.

C.    Standard of Review

      Under Rule 56(c) of the Federal Rules of Civil Procedure, summary

judgment is proper “if the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to

judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

The party asking for summary judgment always bears the initial responsibility of

informing the court of the basis for its motion and identifying those portions of the

pleadings or filings which it believes demonstrate the absence of a genuine issue of

material fact. Id. at 323. Once the moving party has met its burden, Rule 56(e)

requires the non-moving party to go beyond the pleadings and by his own




                                          15
       Case 7:20-cv-01768-SGC     Document 47     Filed 10/19/23    Page 16 of 20




affidavits, or by the depositions, answers to interrogatories, and admissions on file,

designate specific facts showing there is a genuine issue for trial. See id. at 324.

        The substantive law identifies which facts are material and which are

irrelevant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). All

reasonable doubts about the facts and all justifiable inferences are resolved in favor

of the non-movant. See Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir.

1993). A dispute is genuine “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248. If the

evidence is merely colorable, or is not significantly probative, summary judgment

may be granted. See id. at 249.

D.      Plaintiff Cannot Met Her Burden of Proof to Establish Deliberate
        Indifference.

        Neither Nurse Bailey, nor Dr. Li, acted with deliberate indifference to

Plaintiff’s serious medical need, and both are entitled to judgment as a matter of

law.

        1.    Constitutional Standard For Deliberate Indifference Claims

        The Eighth Amendment prohibits the “inflict[ion]” of “cruel and unusual

punishments.” U.S. Const. amend VIII. Under the Amendment, the “[f]ederal and

state governments . . . have a constitutional obligation to provide minimally

adequate medical care to those whom they are punishing by incarceration.” Harris

v. Thigpen, 941 F.2d 1495, 1504 (11th Cir. 1991). The Supreme Court has held

                                          16
     Case 7:20-cv-01768-SGC      Document 47     Filed 10/19/23   Page 17 of 20




that prison officials violate the bar on cruel and unusual punishments when they

display “deliberate indifference to serious medical needs of prisoners.” Estelle v.

Gamble, 429 U.S. 97, 104, 97 S.Ct. 285, 50 (1976).

      A deliberate-indifference claim entails both an objective and a subjective

component. Brown v. Johnson, 387 F.3d 1344, 1351 (11th Cir. 2004). First, the

inmate must establish “an objectively serious medical need”—that is, “one that has

been diagnosed by a physician as mandating treatment or one that is so obvious

that even a lay person would easily recognize the necessity for a doctor’s

attention”—that, “if left unattended, poses a substantial risk of serious harm.” Id.

(quotation omitted). Second, the inmate must prove that prison officials acted with

deliberate indifference to that need by showing (1) that they had “subjective

knowledge of a risk of serious harm” and (2) that they “disregard[ed]” that risk (3)

by conduct that was “more than mere negligence.” Id.

      “A prisoner bringing a deliberate-indifference claim has a steep hill to

climb.” Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d 1257, 1266 (11th Cir.

2020). The Constitution does not require that the medical care provided to inmates

be “perfect, the best obtainable, or even very good.” Harris, 941 F.2d at 1510

(quotation omitted). Rather, “[m]edical treatment violates the [E]ighth

[A]mendment only when it is so grossly incompetent, inadequate, or excessive as

to shock the conscience or to be intolerable to fundamental fairness.” Id. at 1505


                                         17
     Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23   Page 18 of 20




(quotation omitted). In addition, “a simple difference in medical opinion between

the prison’s medical staff and the inmate as to the latter’s diagnosis or course of

treatment [fails to] support a claim of cruel and unusual punishment.” Id.

      2.     Nurse Bailey

      In 2017, an outside gynecologist, Dr. Ted Cox, recommended that Plaintiff

have a total hysterectomy. Ex. F, Mollica0106. Nurse Bailey saw Plaintiff

immediately after this visit and entered a note in the medical record system

regarding Plaintiff’s gynecological visit. Id., Mollica0082. As an R.N., Nurse

Bailey did not have the ability to perform a total hysterectomy on Plaintiff herself.

Ex. G, ¶ 3. In addition, Nurse Bailey did not have authority to order or enter a

request for a surgical consult for a hysterectomy in the BOP system. Id., ¶ 6. As a

result, Plaintiff cannot prove that Nurse Bailey disregarded a risk of serious harm

to Plaintiff. Nurse Bailey provided the treatment and care that was within her

scope of authority to provide and did not intentionally delay any treatment to

Plaintiff. See Brown, 387 F.3d at 1351 (stating deliberate indifference includes

“intentionally denying or delaying access to medical care or intentionally

interfering with treatment once proscribed.”) (quotations omitted).

      3.     Dr. Li

      Dr. Li did not start at FCI Aliceville until September 15, 2019. Ex. H, ¶ 2.

During the time period Dr. Li treated Plaintiff, her uterine symptoms were stable.


                                          18
     Case 7:20-cv-01768-SGC       Document 47     Filed 10/19/23   Page 19 of 20




Id., ¶ 4. The fibroid size did not increase, and her hemoglobin levels were normal.

Id. ¶¶ 4-5, Ex. F, Mollica0163, Mollica0309, Mollica0294, Mollica0246,

Mollica0286. In addition, Plaintiff saw an outside gynecologist who did not

recommend a total hysterectomy. Ex. H, ¶ 6; Ex. F, Mollica0295. Dr. Li agreed

with the recommendation. Ex. H, ¶ 6. That Plaintiff argues she should have

received different medical treatment is a difference in medical opinion between the

prison’s medical staff and Plaintiff as to course of her treatment, which fails to

support a claim of deliberate indifference. See Harris, 941 F.2d at 1505.


                                               PRIM F. ESCALONA
                                               UNITED STATES ATTORNEY

                                               /s/ Don B. Long III
                                               Don B. Long III
                                               Assistant U.S. Attorney
                                               U.S. Attorney’s Office
                                               1801 Fourth Avenue North
                                               Birmingham, Alabama 35203
                                               (205) 244-2001
                                               (205) 244-2181 (fax)




                                          19
     Case 7:20-cv-01768-SGC      Document 47     Filed 10/19/23   Page 20 of 20




                           CERTIFICATE OF SERVICE

      This is to certify that a copy of the foregoing has been served upon the

Respondent, by mailing a copy of the same by first class certified United States mail,

postage prepaid, on October 20, 2023, addressed as follows:

                                    Terri McGuire-Mollica
                                    31860-001
                                    Marianna Federal Correctional Institution
                                    Inmate Mail/Parcels P.O. Box 7007
                                    Marianna, FL 32447

                                       /s/Don B. Long III
                                       DON B. LONG III
                                       Assistant United States Attorney




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